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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

*********************
JAMES R. FURNISS, JR.,    *                        No. 14-481V
                          *                        Special Master Christian J. Moran
              Petitioner, *
                          *
v.                        *
                          *                        Filed: March 2, 2016
SECRETARY OF HEALTH       *
AND HUMAN SERVICES,       *
                          *
              Respondent. *
*********************

Maximullian J. Muller, Muller Brazil, LLP, Dresher, PA, for Petitioner;
Claudia B. Gangi, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On March 1, 2016, the parties filed a joint stipulation concerning the petition
for compensation filed by James R. Furniss on June 4, 2014. In his petition,
petitioner alleged that the flu immunization, which James Furniss received on or
about January 14, 2013, caused him to develop chronic inflammatory
demyelinating polyneuropathy (CIDP), with residual effects lasting more than six
months. Petitioner represents that there has been no prior award or settlement of a
civil action for damages on his behalf as a result of his condition.

       Respondent denies that the vaccine that petitioner received either caused or
significantly aggravated petitioner’s CIDP or any other injury or condition.



       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum payment of $271,544.00 in the form of a check payable to
        petitioner, James Furniss. This amount represents compensation for all
        damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 14-481V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Dan Hoffman, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

                                                2
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